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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                )
In the Matter of the                            )
Federal Bureau of Prisons’ Execution            )
Protocol Cases,                                 )
                                                )
LEAD CASE: Roane, et al. v. Barr                )       Case No. 19-mc-145 (TSC)
                                                )
THIS DOCUMENT RELATES TO:                       )
                                                )
Holder v. Barr, 19-cv-3520                      )
                                                )

                                             ORDER

        Before the court is Plaintiff Norris Holder’s Emergency Motion for Preservation of

Evidence (the Motion). (ECF No. 219.) Having considered the Motion—and in consideration of

the fact that the court has granted two similar motions in this case (see ECF Nos. 158, 163)—the

Motion is GRANTED, and it is hereby ORDERED that, in the event the execution of KEITH

NELSON is carried out:

    1) the Bureau of Prisons shall preserve all IV tubing, syringes, needles, and drug vials used

        in the execution, except for any portion of the IV tubing and entry apparatus that must

        travel with the body to the coroner because they remain connected to the body of the

        inmate after execution; and

    2) if an autopsy is or has been conducted of Keith Nelson, then the Coroner shall within 48

        hours of his execution:

           a. Collect evidence related to pulmonary edema and issues inserting Mr. Nelson’s

               intravenous line, including that the Coroner or Medical Examiner: weigh the

               lungs; perform a thorough examination and documentation of any fluid present in

               the large or small airways, or mouth or nose; identify the IV site(s), note if the

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            catheter was placed intravascularly, and note any extravasation of fluid around the

            IV; and note any signs of multiple IV attempts.

         b. Preserve tissues from the brain, liver, and muscle from a location other than from

            the leg or arm where the IV was set.

Date: August 28, 2020
                                          Tanya S. Chutkan
                                          TANYA S. CHUTKAN
                                          United States District Judge




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